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8
                                  UNITED STATES DISTRICT COURT
9                               NORTHERN DISTRICT OF CALIFORNIA
                                        SAN JOSE DIVISION
10

11   FEDERAL TRADE COMMISSION,
12                 Plaintiff,
13          v.                                        Case No. 5:22-cv-04325-EJD
14   META PLATFORMS, INC., et al.                     PLAINTIFF’S EMERGENCY MOTION
                                                      FOR AN EXTENSION OF THE JOINT
15                   Defendants.                      STIPULATED TRO
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     PLAINTIFF’S EMERGENCY MOT. FOR EXT. OF THE JOINT STIP. TRO
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1                                NOTICE OF MOTION AND MOTION

2           PLEASE TAKE NOTICE that, as soon as the matter may be heard, Plaintiff Federal Trade

3    Commission (“FTC” or “Commission”) hereby moves the Court for an emergency extension of

4    the Joint Stipulated Temporary Restraining Order (Dkt. No. 508) (the “Joint Stipulated TRO”)

5    pursuant to Federal Rule of Civil Procedure 65(b)(2) so that Meta Platforms, Inc. (“Meta”) and

6    Within Unlimited, Inc. (“Within”) may not close or consummate Meta’s acquisition of Within

7    (the “Acquisition”) until after 11:59 p.m. Pacific Time on the first business day after the Court

8    rules on the FTC’s Motion for a Preliminary Injunction. In the alternative, the FTC requests a 7-

9    day extension of the Joint Stipulated TRO, which would eliminate the need for an additional

10   immediate emergency motion in the event the Court denies the preliminary injunction. The FTC

11   respectfully requests the Court to issue this relief prior to 11:59 PM tonight, January 31, 2023—

12   the date and time after which the Joint Stipulated TRO will expire—to preserve the status quo

13   until the Court rules on the preliminary injunction and the parties can determine their immediate

14   next steps.

15          The FTC’s motion is based on this Notice of Motion; the Memorandum of Points and

16   Authorities in Support and Declaration filed concurrently; all other pleadings on file in this action;

17   and any other written or oral argument that the FTC may present to the Court.

18   DATED: January 31, 2023                                Respectfully submitted,

19                                                          /s/ Abby L. Dennis

20                                                          Abby L. Dennis

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1                        MEMORANDUM OF POINTS AND AUTHORITIES

2           Under the Joint Stipulated TRO, Defendants may consummate the proposed Acquisition

3    after January 31, 2023 at 11:59 PM Pacific Standard Time, or on “the first (1st) business day after

4    the District Court rules on the FTC’s request for a preliminary injunction pursuant to Section

5    13(b) of the Federal Trade Commission Act, whichever occurs earlier in time.” Dkt. No. 508 at

6    6. Accordingly, if the Court does not rule today on the FTC’s Motion for a Preliminary Injunction,

7    Defendants can close or consummate the Acquisition tonight after 11:59 PM Pacific Time.

8           Without an extension of the Joint Stipulated TRO, Defendants will be able to consummate

9    the Acquisition. And consummation will irreparably harm the FTC’s ability to obtain effective

10   relief for the public at the conclusion of any further proceedings. By contrast, Defendants will not

11   be prejudiced by the minimal delay caused by a short extension of the TRO.

12          The FTC thus respectfully moves this Court for a short extension of the Joint Stipulated

13   TRO pursuant to Rule 65(b), preventing the parties from consummating the transaction until

14   11:59 PM Pacific Time on the first business day following the Court’s preliminary injunction

15   ruling. In the alternative, the FTC requests a 7-day extension, which would eliminate the need for

16   an additional immediate emergency motion in the event the Court denies the preliminary

17   injunction. This requested relief is necessary to preserve the status quo, which would otherwise

18   be irreparably altered once the merger is consummated.

19          Given that Defendants can close the proposed Acquisition after 11:59 PM tonight if the

20   Court does not rule on the preliminary injunction by then, the FTC respectfully requests that the

21   Court rule on this motion as soon as possible but no later than 11:59 PM tonight.

22                                              ARGUMENT

23          Federal Rule of Civil Procedure 65(b) permits the district court, for good cause, to extend

24   the expiration date of a temporary restraining order. Fed. R. Civ. P. 65(b)(2) (“The [temporary

25   restraining] order expires at the time after entry--not to exceed 14 days--that the court sets, unless

26   before that time the court, for good cause, extends it for a like period or the adverse party consents

27   to a longer extension.”); Castellanos v. Countrywide Bank, NA, 15-cv-896, 2015 WL 914436, at

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1    *3 (N.D. Cal. Feb. 27, 2015) (Davila, J.) (extending previously issued TRO for 14 days); Humana

2    Ins. Co. v. Tenet Health Sys., 1:16-cv-1450, 2016 WL 6094676, at *7 (E.D. Cal. Oct. 17, 2016)

3    (same). The temporary restraining order is “an equitable device for preserving the status quo and

4    preventing the irreparable loss of rights.” Textile Unlimited, Inc. v. A. BMH & Co., Inc., 240 F.3d

5    781, 786 (9th Cir. 2001). Moreover, the Court possesses even “greater power” to fashion equitable

6    relief “in defense of the public interest than it has when only private interests are involved.” Cal.

7    ex rel. Van de Kamp v. Tahoe Reg. Planning Agency, 766 F.2d 1319, 1324 (9th Cir. 1985).

8           Here, there is good cause for the FTC’s requested short extension of the Joint Stipulated

9    TRO. If Defendants are allowed to merge, the status quo will be irreparably altered, and the FTC’s

10   ability to obtain full and effective relief at the conclusion of any further proceedings will be

11   seriously prejudiced if not foreclosed altogether. Unless the Court issues its ruling on the

12   preliminary injunction today, or grants this requested TRO extension, Defendants will be free to

13   consummate the Acquisition after 11:59 PM tonight. Constructing and enforcing an effective

14   divestiture order after merging parties have combined their operations has historically been

15   exceedingly difficult or even impossible. See, e.g., FTC v. Warner Commc’ns Inc., 742 F.2d 1156,

16   1165 (9th Cir. 1984) (recognizing effective relief would be impossible once transaction occurred).

17   At that point, “it is extraordinarily difficult to unscramble the egg” and “to preserve competition.”

18   FTC v. Penn State Hershey Med. Ctr., 838 F.3d 327, 352-53 (3d Cir. 2016) (cleaned up).

19          The public has a strong interest in the effective enforcement of the antitrust laws. See

20   United States v. E. I. du Pont de Nemours & Co., 366 U.S. 316, 323 (1961). Denying the requested

21   relief would undermine that interest by denying the public the opportunity to obtain full and

22   complete relief should the FTC ultimately prevail on the merits. Cf. Warner, 742 F.2d at 1165

23   (denial of injunction “would preclude effective relief if the Commission ultimately prevails and

24   divestiture is ordered”).

25          Defendants, on the other hand, will suffer no harm or little harm from a brief extension of

26   the Joint Stipulated TRO. The parties began exploring the Acquisition over eighteen months ago;

27   postponing it a few more days will not make a difference. Moreover, “the parties have until April

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1    to consummate this deal or they can walk.” Hr’g Tr. at 46:21-23. A short delay therefore will not

2    imperil the deal. Nor will it affect the start of the administrative trial on the merits, which is now

3    set to begin on February 13, 2023. In the Matter of Meta Platforms, Inc., Mark Zuckerberg, and

4    Within Unlimited, Inc., Dkt. No. 9411 (First Revised Scheduling Order, Jan. 11, 2023) at 2.

5                                              *       *       *

6           If the Court grants the FTC’s Motion for a Preliminary Injunction today, the transaction

7    will be enjoined pending completion of the administrative proceedings, and this motion will be

8    moot. If, however, the Court denies the preliminary injunction today, the parties may consummate

9    the merger on the first business day following the ruling, i.e., tomorrow. Dkt. 508 at 6. In that

10   event, the FTC expects to move for further emergency relief to preserve the status quo while it

11   (1) evaluates the Court’s decision and obtains the necessary internal approvals for any appeal and

12   (2) prepares and files a motion for an injunction pending appeal under Rule 62, if an appeal is

13   taken. Fed. R. Civ. P. 62(d); see Doe #1 v. Trump, 944 F.3d 1222, 1223 (9th Cir. 2021) (a

14   temporary stay can preserve the status quo while a court considers whether to grant relief pending

15   appeal).

16          Accordingly, in the alternative, the FTC requests that the Court extend the Joint Stipulated

17   TRO seven days, such that the parties could not consummate the deal until after 11:59 PM on

18   February 7. A 7-day extension would obviate the need for an additional immediate emergency

19   motion in the event the Court denies the preliminary injunction. In that event, the FTC would file

20   any Rule 62 motion for an injunction pending appeal by or on February 7.

21                                             CONCLUSION

22          For the foregoing reasons, Plaintiff respectfully requests that this Court extend the Joint

23   Stipulated TRO (Dkt. No. 508) pursuant to Rule 65(b), so that Meta and Within cannot close or

24   consummate the proposed Acquisition until after 11:59 p.m. Pacific Standard Time on the first

25   business day after the Court rules on the FTC’s Motion for a Preliminary Injunction. In the

26   alternative, Plaintiff requests that the Court extend the Joint Stipulated TRO seven days, so that

27   the parties cannot consummate the Acquisition until after 11:59 p.m. Pacific Standard Time on

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1    February 7, 2023.

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     Dated: January 31, 2023                       Respectfully submitted,
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4                                                  /s/ Abby L. Dennis
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5                                                  Peggy Bayer Femenella
                                                   Joshua Goodman
6                                                  Jeanine Balbach
                                                   Michael Barnett
7                                                  E. Eric Elmore
8                                                  Justin Epner
                                                   Sean D. Hughto
9                                                  Frances Anne Johnson
                                                   Andrew Lowdon
10                                                 Lincoln Mayer
                                                   Erika Meyers
11                                                 Susan A. Musser
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21                                                 Counsel for Plaintiff Federal Trade
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     PLAINTIFF’S EMERGENCY MOT. FOR EXT. OF THE JOINT STIP. TRO
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